Case 20-14805-mdc            Doc 62     Filed 12/14/21 Entered 12/14/21 13:37:23                   Desc Main
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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Patricia Y. Southerland
                                 Debtor(s)                                          CHAPTER 13

PNC BANK, NATIONAL ASSOCIATION
                      Movant
           vs.
                                                                                 NO. 20-14805 MDC
Patricia Y. Southerland
                                 Debtor(s)

Kenneth E. West Esq.
                                 Trustee
                                                                               11 U.S.C. Section 362

                       MOTION OF PNC BANK, NATIONAL ASSOCIATION
                         FOR RELIEF FROM THE AUTOMATIC STAY
                                   UNDER SECTION 362

         1.       Movant is PNC BANK, NATIONAL ASSOCIATION.

         2.       Debtor(s) is/are the owner(s) of the premises 347 East Claremont Road a/k/a 347 Claremont

 Road, Philadelphia, PA 19120, hereinafter referred to as the mortgaged premises.

         3.       Movant is the holder of a mortgage, original principal amount of $138,176.00 on the

 mortgaged premises that was executed on December 12, 2008. The Mortgage has been assigned as follows:

         4.       Kenneth E. West Esq., is the Trustee appointed by the Court.

         5.       The commencement and/or continuation of the mortgage foreclosure proceedings by reason

 of non-payment of monthly mortgage payments were stayed by the filing of a Chapter 13 Petition in

 Bankruptcy by the Debtor(s).

         6.       Debtor(s) has/have failed to make the monthly post-petition mortgage payments in the

 amount of $894.93 for the month of October 2021 and $857.60 for the months of November 2021 through

 December 2021. The debtor’s suspense balance is $81.21.

         7.       In addition to the other amounts due to Movant reflected in this Motion, as of the date

 hereof, in connection with seeking the relief requested in this Motion, Movant has also incurred legal fees and

 legal costs. Movant reserves all rights to seek an award or allowance of such fees and expenses in accordance

 with applicable loan documents and related agreements, the Bankruptcy Code and otherwise applicable law.
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        8.       The total amount necessary to reinstate the loan post-petition is $2,528.92 (plus attorney’s

fees & costs if applicable).

        9.       Movant is entitled to relief from stay for cause.

        10.      Movant further seeks relief in order to, at its option, offer, provide and enter into any

potential forbearance agreement, loan modification, refinance agreement or other loan workout/loss

mitigation agreement. Movant may contact Debtor(s) via telephone or written correspondence to offer such

an agreement. Any such agreement shall be non-recourse unless included in a reaffirmation agreement.

        11.      This motion and the averments contained therein do not constitute a waiver by Movant of

its right to seek reimbursement of any amounts not included in this motion, including fees and costs, due

under the terms of the mortgage and applicable law.

        WHEREFORE, Movant prays that an Order be entered modifying the Stay and permitting Movant to

proceed with its mortgage foreclosure on the mortgaged premises, and to allow the Sheriff's Grantee to take

any legal action to enforce its right to possession of the mortgage premises. Further, Movant prays that an

Order be entered awarding Movant the costs of this suit, reasonable attorney's fees in accordance with the

mortgage document and current law together with interest.


                                                         /s/ Rebecca A. Solarz, Esq.
                                                         ____________________________________
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